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                         Exhibit 4
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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
 Samantha Tavel, a/k/a Candy Cartwright,
                        Plaintiff,
 v.                                                        20-cv-06805
 Matthew Riddle, Evolve Wrestling, Inc.,                   Judge Manish S. Shah
 Gabe Sapolsky, and World Wrestling
 Entertainment, Inc.,
                        Defendants.

                                           AFFIDAVIT

       I, Joseph M. Ranta, hereby declare and state as follows:

       1.      I am over the age of eighteen years and believe in the obligations of an oath.

       2.      I have personal knowledge of the matters set forth herein, or, I have reviewed

records and am competent to testify thereto.

       3.      I have reviewed the Complaint filed in the above-captioned action and so I am

familiar with the allegations asserted.

       4.      I am a video producer and videographer. I have worked for Evolve Wrestling, Inc.

       5.      I reside in Mason, Michigan.

       6.      On May 19, 2018, I attended the Evolve 104 show at the Summit Park District in

Summit, Illinois.

       7.      After the show, I offered to drive some performers to their hotel, which was the

Comfort Inn Metro Airport near Detroit, Michigan.

       8.      The Evolve 105 show was scheduled for May 20, 2018 in Livonia, Michigan.

       9.      I drove my 1994 GMC Savana 1500 conversion van, which seats seven. Pictures

of the van that I took are attached hereto as Exhibit A.



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        10.     James Dowell (who wrestles as JD Drake), Keith Lee, Anthony Henry, Matthew

Riddle, and Candy Cartwright (“the Party”) rode with me that night.

        11.     James Dowell sat in the front passenger seat, Keith Lee sat behind him, Anthony

Henry sat behind me, and Matthew Riddle and Candy Cartwright sat in the back seat.

        12.     I used my GPS to navigate that night. Screenshots from my GPS are attached as

Exhibit B.

        13.     We left the Summit Park District around 12:26 a.m. on May 20, 2018.

        14.     After stopping for gas, we left Summit around 12:34 a.m.

        15.     I took the I-294 to the I-94 and drove into Indiana around 1:10 a.m.

        16.     Around 1:22 a.m. we arrived at a Denny’s restaurant, located at 6171 Melton

Road in Portage, Indiana.

        17.     During the drive to Denny’s, only Keith Lee fell asleep.

        18.     The Party ate at Denny’s and left the restaurant around 2:35 a.m.

        19.     I drove the Party to my house to pick up supplies.

        20.     By the time we arrived, after 5 a.m., almost everyone had fallen asleep. James

Dowell was awake for most of the drive.

        21.     Candy Cartwright and Matthew Riddle got out of the van and came into my house

with me. We stayed about 12 minutes, and then drove to the Comfort Inn Metro Airport.

        I hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

is true and correct.

 Dated: December 2, 2020
                                                     Joseph M. Ranta




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                      Exhibit 4A
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                       Exhibit 4B
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